                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION

                              DOCKET NO. 3:00-CR-169-FDW


 UNITED STATES OF AMERICA,                       )
                                                 )
        vs.                                      )
                                                 )
 GREGORY FISHER BUTLER, JR.,                     )                   ORDER
                                                 )
                Defendant.                       )
                                                 )

       THIS MATTER is before the Court on Defendant’s motion for “reconsideration” of his

sentence pursuant to 18 U.S.C. § 3582(c)(2) and the new crack cocaine sentencing guidelines.

Defendant’s motion is DENIED for the reasons stated in the Court’s prior Presentence Investigation

Report and Order (168, 169 & 189).

       IT IS SO ORDERED:                        Signed: July 13, 2009




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